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                                                      March 17, 2023

       VIA E-COURTS
       Honorable James B. Clark, III
       United States District Court For the District of New Jersey
       U.S. Courthouse
       50 Walnut Street, Room 2060
       Newark, NJ 07102

                RE:       Alejandro Morales v. Healthcare Revenue Recovery Group, LLP
                          Docket No. 2:15-cv-08401-ES-JAD
                          Our File No. 190-100509 (SXK/CMS)

       Dear Judge Clark:

               Please accept this letter as a joint request on behalf of counsel for a one-week extension
       of the "meet and confer" deadline in Your Honor's March 3, 2023 Letter Order (ECF # 208),
       which directed a joint submission by counsel regarding the discovery issue on March 17, 2023.

              In Your Honor’s March 16, 2023 Letter Order (ECF # 211), the March 24 11:30 am
       telephone conference was adjourned to March 29, at 11:00 AM

              It is respectfully requested that Your Honor grant a one-week extension of the meet and
       confer and joint submission deadline to March 24, 2023.

               Counsel for both parties are working together to resolve the discovery issue with
       continuing discussions next week. The undersigned is confident that, with this extension, counsel
       will resolve the discovery issue and obviate the need for a teleconference on March 29, 2023.

                Counsel for Plaintiff, Mark Jensen, Esquire, joins in this request for an extension.

                I thank Your Honor and Chambers for their time and attention to this matter.

                                                              Respectfully submitted,

                                                              /s/ Mark J. Leavy
                                                              Mark J. Leavy, Esquire

       MJL/nlo

       {M0470017.1}
           Philadelphia     Westchester County   Wilmington           Towson            New York    Pittsburgh
           Pennsylvania         New York          Delaware            Maryland          New York   Pennsylvania
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MARKS, O’NEILL, O’BRIEN, DOHERTY & KELLY, P.C.
March 17, 2023
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cc:     Mark Jensen, Esquire (Via E-Courts)
        Yongmoon Kim, Esquire (Via E-Courts)
        Philip D. Stern, Esquire (Via E-Courts)
        Andrew T. Thomasson, Esquire (Via E-Courts)
        Linda Thacker, Esquire (Via E-Courts)
        Leslie Bender, Esquire (Via E-Courts)




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